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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 1:22-cv-23753-KMM


 EDWIN GARRISON, on behalf of himself
 and all others similarly situated,

         Plaintiff,

 v.

 SAMUEL BANKMAN-FRIED, et al.,

       Defendants.
 ___________________________________ /

                                    ORDER OF RECUSAL

         THE UNDERSIGNED MAGISTRATE JUDGE, to whom the above-styled case has

 been assigned, hereby recuses herself and refers the matter to the Clerk of Court for

 reassignment pursuant to 28 U.S.C. § 455(a).

         DONE AND ORDERED in Chambers at Miami, Florida this 16th day of November,

 2022.




                                                LAUREN F. LOUIS
                                                UNITED STATES MAGISTRATE JUDGE




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        In accordance with the Local Rules for the Southern District of Florida, providing for

 the random and equal allotment of cases, this cause will be reassigned to the calendar of

 Magistrate Judge Jacqueline Becerra Copies of this Order shall be served on all pending parties
 ____________________________.

 of record.     All documents for filing in this case shall carry the following case number and

 designation:                       Becerra
                 22-cv-23753-MOORE/_________________.

       BY ORDER OF THE COURT this 16h          Nov. 2022, Miami, Florida.
                                  ____ day of _______,




                                                    ANGELA E. NOBLE
                                                    Clerk of Court


                                                     /s/Valerie Kemp
                                                By: ____________________

                                                    Deputy Clerk




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